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 7                          UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF WASHINGTON
 8                                   AT SEATTLE
 9
10 UNITED STATES OF AMERICA, )
                                 )
11                   Plaintiff,  )                CASE NO.      CR05-281 JLR
                                 )
12         v.                    )
                                 )
13                               )                DETENTION ORDER
    JORGE GUTIERREZ-RODRIGUEZ, )
14                               )
                Defendant.       )
15 ______________________________)
16   Offense charged:       Conspiracy to Distribute Methamphetamine, Cocaine, and Heroin,
17                          in violation of Title 21, U.S.C., Sections 841(a)(1), 841(b)(1)(A),
18                          and 846.
19   Date of Detention Hearing: August 11, 2005.
20            The Court, having conducted an uncontested detention hearing pursuant to Title
21   18 U.S.C. § 3142(f), and based upon the factual findings and statement of reasons for
22   detention hereafter set forth, finds that no condition or combination of conditions which the
23   defendant can meet will reasonably assure the appearance of the defendant as required and
24   the safety of any other person and the community. The Government was represented by
25   Susan Roe. The defendant was represented by Lee Covell.
26            The Government filed a Motion for Detention, to which the defendant stipulated

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 1 reserving the right to re-visit the matter upon discovery of additional information supporting
 2 release.
 3       FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION
 4            (1)    There is probable cause to believe the defendant committed the
 5                   conspiracy drug offense. The maximum penalty is in excess of ten years.
 6                   There is therefore a rebuttable presumption against the defendant’s
 7                   release based upon both dangerousness and flight risk, under Title 18
 8                   U.S.C. § 3142(e).
 9            (2)    Nothing in this record satisfactorily rebuts the presumption against
10                   release for several reasons:
11                   (a)    The defendant poses a risk of nonappearance as he is a native and
12                          citizen of Mexico; his ties to this district are unknown; and his
13                          criminal history suggests an inability to comply with court orders.
14                   (b)    Due to the nature and seriousness of the crime alleged, combined
15                          with the defendant’s criminal history and unknown background,
16                          release of the defendant would pose a risk to the community.
17                   (c)    The defendant stipulated to detention.
18            (3)    Based upon the foregoing information which is consistent with the
19                   recommendation of U.S. Pre-trial Services, it appears that there is no
20                   condition or combination of conditions that would reasonably assure
21                   future Court appearances and/or the safety of other persons or the
22                   community.
23
24   It is therefore ORDERED:
25            (l)    The defendant shall be detained pending trial and committed to the
26                   custody of the Attorney General for confinement in a correction facility

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 1               separate, to the extent practicable, from persons awaiting or serving
 2               sentences or being held in custody pending appeal;
 3         (2)   The defendant shall be afforded reasonable opportunity for private
 4               consultation with counsel;
 5         (3)   On order of a court of the United States or on request of an attorney for
 6               the Government, the person in charge of the corrections facility in which
 7               the defendant is confined shall deliver the defendant to a United States
 8               Marshal for the purpose of an appearance in connection with a court
 9               proceeding; and
10         (4)   The clerk shall direct copies of this order to counsel for the United
11               States, to counsel for the defendant, to the United States Marshal, and to
12               the United States Pretrial Services Officer.
13         DATED this 15th day of August, 2005.


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                                                    MONICA J. BENTON
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                                                    United States Magistrate Judge
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